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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW HAMPSHIRE



United States of America

      v.                                Case No. 02-cr-153-03-PB

Norman Redler



                              NOTICE OF RULING


      Re:   Document No. 241, Motion to Continue Sentencing Hearing


     Ruling:    Motion granted.    The clerk shall schedule the
sentencing on any available date during the month of September. I
will not consider any additional delays based on the defendant’s
medical condition without a waiver of the physician-patient
privilege so that the probation office and the government can
investigate any claims concerning the defendant’s mental condition.


      Entered by:    Paul Barbadoro, District Judge

      Date:   August 26, 2005


cc:   Jeffrey Denner, Esq.
      Laurence Cote, Esq.
      Paul Garrity, Esq.
      Michael Iacopino, Esq.
      Mark Kaplan, Esq
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